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                  Exhibit E
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                                                                                    10/14/2022
To: Hon. Nelson Roman
The Hon. Charles L. Brieant Jr. Courthouse



Dear Judge Roman,

       My name is Vincent Giaimo. I am Amanda Finn's step Father. I am currently employed as an
designer, equipment builder in the electrical field. I am a former Federal Officer for the department of
Homeland Security, Former Fire Captain, 1st and 2nd Lieutenant in the town of Beekman Engine
Company, Former President of the Beekman Fire Company. Former Training Officer in the United
States Coast Guard Auxiliary.

Aaron Finn is my Son-In-Law, and Father to my newest Grandson             . I have know Aaron since 2009
since just before he started dating Amanda. He had come to the house to help Amanda work on her car.
She had mentioned to him in passing that her car was having a problem, and that she was going to ask
me to fix it. He volunteered to come and take a look at it. A fine first impression to me I must say. I was
going to ask him to change the oil in my wife's car while he was here, but I thought my Daughter
wouldn't see the humor in it. Since then, I have come to know Aaron very well, he introduced himself
to me as “AJ”. For the record, I have never called him AJ, mostly because Amanda calls him Aaron, I
call him Aaron. Over the years, he has impressed me on many occasions for several reasons. I find his
“can do” attitude impressive. We have helped each other many times on different projects around our
homes, from various construction projects to many different car and motorcycle tasks. I have never
heard him say “I can't do this” without at least giving it a damn good try. I'm impressed that he seeks
out the advise of others that he respects. He has sought me out many times to ask my opinion or
guidance on many things. I have observed him speaking to friends and family on subjects. He has
impressed me with his selfless devotion to his parents John and Kay. John and Kay are wonderful
people, and I see where Aaron gets his kindness and desire to be helpful. They are elderly and John has
some medical conditions that make it very difficult for him to move about freely. He is extremely tall at
6' 10 “ and weights upwards of 500 Lbs. This being the case, he needs help to go to and from his
various medical Appointments every couple of weeks. Aaron takes care of this. He drives him around
to his appointments, gets his father in and out of the car, the house and the doctors office. Aaron
frequently shops for his parents and takes care of pharmacy trips and chores for them. A few years ago
Aaron and Amanda brought a house that needed a huge amount of repair across the street from a small
mobile home Aaron owns. They fixed the house up, and instead of moving into it, he moved his parents
into it so he could be closer to them and help out more. I ask you, what young man in this day and age
does this?

Aaron loves my Daughter very much. I can see this by how he dotes over her, and how he treats her on
a day to day basis. This very much impresses me. Don't get me wrong, I love my Amanda to pieces,
however she can be, shall we say, a handful to deal with sometimes. He takes this in stride, and I've
seldom seen him show annoyance at it. I have told Amanda that she has chosen wisely in choosing him
to be her Husband. Between you and I, I couldn't stand the guy she was dating before she met Aaron.
And I wouldn't be writing to you if it were him in this situation. As a new father he is just overflowing
with love and pride for his son, it is hard to even miss when you see them together. He often told me in
the past how he couldn't wait to have kids. I suspect he will still feel the same even after the little one
becomes a teenager.
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Aaron has shown how much he cares about our family. I see this in the way he interacts with all of our
kids, and my wife. He stays involved with the various aspects of out family dynamics, and helps out
whenever and wherever he can. Not just in physical things, such as cleaning out the gutters on our
house, because my wife refused to let me go on the roof that day to do it myself as the roof was wet. So
when she wasn't looking he took the ladder out went up and did it himself. To things like when
Amanda's natural father, who lived in Texas, was close to death, he paid for all the kids plane tickets
and hotels and meals to go there to be with him. He took many days off of work and went as well to be
by Amanda's side through that trying time. Recently, I watched him running around like a chicken with
it's head cut off trying to fix the heat at the house where John and Kay live, at the same time, fixing our
Daughter Courtney's brakes on her car, and working on the suspension on Amanda's car. On the day we
got to meet       for the first time. It was a sort of pizza party and while we were eating pizza and ahhing
over the Grandson, he was running around getting things done. When I asked him why he was going
nuts around the place, he said to me he had only a little time left to get everything set and done before
October. Again showing me how he put his wife and family above himself. I could see the sorrow in his
eyes when he looked at         , And it broke my heart. I've offered many times to help him, he says yes,
ok, sure, he'll call me if he really needs help. Yet he doesn't, and I know he won't because he's too proud
to ask. And not proud as in full of himself, but too proud to show weakness in front of me. Though
proud may be the wrong word, I'm sure you get where I'm going with this. Which brings me to another
point.

As you may or may not know, Aaron was stabbed 9 times at work during an altercation that happened
between himself and an Inmate. We heard about it that evening from Amanda, and we were all very
concerned. They came to see us several days later after Aaron had some time to “recuperate”. He
looked absolutely ghastly. He was a terrible site. If I didn't know he had been resting and in
consultation with a doctor I would have insisted he go to urgent care immediately. My words were
something to the effect of “Jesus Christ you look like you got hit by a truck!” He said he felt like it too.
Though he made a valiant attempt to ease my mind, explaining it was the stabbing as well as the
“cocktail” as he put it, a medication to prevent him from get a bunch of diseases from the inmate if in
fact he had any. So I assumed the inmate did in fact have something, but Aaron explained that they
didn't know, as the inmates medical records are private. So wait a minute here I asked, you're saying
you have to take this drug, which makes you terribly sick, for 3 months, on top of not being able to be
intimate with your wife, among other things because someone can't look in this guys file, and see if he
has anything? Yes Aaron said. I was floored. What kind of political garbage effects an officers health
and life like this? Unbelievable! In the local newspaper all it said was that an unnamed corrections
officer was injured in a stabbing at Greenhaven. But yet, the situation continues to get stranger. A few
weeks later, Amanda and Aaron came to visit. As we almost always do, after a time the family separates
into a room full of the women chatting, and room full of men chatting, and as the evening went on it
was just Myself and my wife, and Aaron and Amanda. Aaron had spent most of the evening sleeping in
one of the spare bedrooms and woke up later on for some water. We wound up sitting in the family
room alone. He still looked horrible, I asked how he was doing, he told me he felt pretty rotten
physically, but then told me something that shocked me. He told me he was having trouble dealing with
the whole stabbing incident. He was worried about going back to work, because he was having panic
attacks. This goes back to what I said before about him being proud, he had told me a few years before
that he had a tough time being the center of attention dealing with the inmates sometimes, however he
had to remain strong in front of them, because any sign of weakness they would pounce all over him.
Back here in the present I asked him if he had talked to any state doctors or state psychiatrists, or
anyone beside me, he said no, he wasn't sure of how things were done, who he could or should talk to,
and that there seemed to be some kind of political shenanigans going on around the whole incident. He
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had been contacted by the person in charge of the department of corrections, and a few other dignitary's
on the same call, and they assured him that they would make sure he was “taken care of” and other
such things. Which turned out to be utter bullshit. (excuse my language, however there is no other term
that fits) After he finished his 3 months on the cocktail, and shortly before the incident that happened
on March 19th “the state” said he was to return to work. They came over to visit a few days later and
again I asked Aaron how he was feeling. He said a little better, but he then asked if he could talk to me
about Panic attacks. It makes sense he would ask me, as I have panic disorder I started having
symptoms in 1998. I am also a 9/11 survivor, I worked at 1 World Trade and was there on that day. I
have been being treated for PTSD ever since. He confided in me that he was scared being in the prison,
constantly looking over his shoulder, and was thinking he might have to resign if he couldn't get his act
together. I was again shocked that he would admit such a weakness to me. It must have been very hard
for him to admit. I again asked him if he had been seen or had been told to see a state psychiatrist
before or since he went back to work, again, no. He went on to say he was still in the dark with the
incident and that odd things were happening, people were being moved around, re assigned, retiring
and his questions were basically being stonewalled. I was upset and angry. Why on Earth would they
take a guy who had been stabbed 9 times, and just toss him back to the wolfs so to speak? To me this
whole thing stank of incompetence and someone or some one's trying to cover up a mistake. I say this
from experience, as I have worked for both the States of NY and NJ, at the same time, and I've seen
stonewalling on a grand scale when someone screwed up and was trying to bury it under a blizzard of
paperwork, smoke and mirrors. I had no idea what if anything I could do about this. As it turns out,
nothing. Shortly there after the incident on March 19th happened, and well you know the rest. What
bothers me about the March 19th incident is the fact it took years to “build a case” against Aaron, the
fact that 12 officers showed up at his home to arrest him, State and county police, local police, the FBI.
What the hell is that? They could have just sent a car around to scoop him up, no worries. I'm surprised
they didn't have a SWAT team there, and helicopters. And by some strange coincidence, the local paper
had all the facts when they printed the article about that, his name, address, what allegedly happened,
his shoe size, etc. I don't believe in coincidence, never have. What I do believe is that someone,
somewhere, screwed up big time with the stabbing and they don't want it to come to light. This reeks of
political expediency in that those someones labeled Aaron a loose end that needed to go away. This is
my opinion, and I thank you for indulging me on this point.

In closing I wish to speak to you on a personal level. Perhaps it's inappropriate, however I believe in
my heart it is the right thing to do. I am dismayed at the shape of things today. I never though in my
lifetime I would be concerned about the future of our Country, now it's foremost on my mind. I see
what's happening in national, state and local politics, on the streets, the police, the courts and in the
prisons. I have several friends that are police officers, Federal officers, court officers and corrections
officers, they all say to a one it's getting pretty bad out there. The mess with cashless bail and these
terrible policy's that in my humble opinion need to be fixed, or soon or it will be anarchy. I thank God
that the founders had the fore site to put Judges in the legal system to act as keepers of the law, stop
gaps, if you will, so that the system doesn't turn into a Juggernaut just grinding the guilty and innocent
alike into dust, and putting a sane, human element into the mix to “Judge” and determine that
sometimes there's more to it then just “guilty” or “innocent”. I ask you to look at the facts here, and see
that Aaron is not a criminal, he's a good man who is not a burden to society, but a positive influence to
everyone in his orbit. Just a regular guy, trying to do his job, trying to provide for his family the best
he knows how, who got caught up in something that was out of his control, which put him out of
control for that one, brief instant. He told me he felt scared and alone, and he did what I think anyone in
that situation would have done. For him to serve prison time, to me would be a complete waste of a
good human being, a terrible burden on his wife, son, parents and the taxpayers. They say the lifetime
of a corrections officer who is jailed is measured in minutes. It is something that frightens me to my
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soul. I have lost one Son already to cancer, I don't wish to loose another to “the system”. The first son, I
tried everything I could save, and I couldn't. I will try anything as well to save this one. I would
volunteer myself to take his place in prison. His new born son, his wife, his parents need HIM, they
don't need me. I am old and I have done all I can do for my kids. And I would not be marked for death
as he would. I would be just some old guy marking his time until it was time to be set free. And if
something happened and I was to die in there, then so be it, I would die happy in the knowledge that
Aaron, who is still young and strong were still alive to be there for them, and take care of them when I
could not. I ask that you consider all of the thing I have written to you when sentencing Aaron. And I
thank you for taking the time to read my heartfelt words.

Sincerely,


Vincent Giaimo
